






NO. 07-02-0273-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL C



JULY 17, 2002



______________________________




ALFRED STONE, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE




_________________________________



FROM THE 137TH DISTRICT COURT OF LUBBOCK COUNTY;



NO. 97-425561; HONORABLE MACKEY K. HANCOCK, JUDGE



_______________________________



Before QUINN and REAVIS and JOHNSON, JJ.

	Pursuant to a plea agreement, appellant Alfred Stone was convicted of aggravated
sexual assault and punishment was assessed at 18 years confinement on October 15,
1998.  On June 24, 2002, appellant filed a pro se notice of appeal alleging jurisdictional
defects.  Based upon the rationale expressed herein, we dismiss for want of jurisdiction.

	A defendant must file a written notice of appeal with the trial court clerk within 30
days after the date sentence is imposed.  Tex. R. App. P. 25.2 &amp; 26.2(a)(1).  The Rules
of Appellate Procedure provide for a 15-day extension in which to file the notice of appeal
if it is accompanied by a motion for extension of time.  Tex. R. App. P. 26.3 &amp; 10.5(b)(2).
This Court is without jurisdiction to address the merits of an appeal and can take no action
other than to dismiss the appeal if an appeal is not timely perfected.  See Slaton v. State,
981 S.W.2d 208, 210 (Tex.Cr.App. 1998).

	Appellant's sentence was imposed on October 15, 1998; thus, the deadline for filing
a notice of appeal was Monday, November 16, 1998, (1) or 15 days thereafter if accompanied
by a motion for extension of time in compliance with Rule 10.5(b) of the Texas Rules of
Appellate Procedure.  A notice of appeal filed approximately 33 months after sentence was
imposed does not invoke our jurisdiction.

	On July 10, 2002, appellant also filed in this Court his docketing statement and a
"Motion to Compel Delivery of Documents and Petitions."  Attached to his motion are
copies of a "Motion Requesting Return of Documents and Papers" and an order of the
United States District Court for the Northern District of Texas, Lubbock Division, dismissing
with prejudice his petition for a writ of habeas corpus as being "time-barred."  Having
determined we are without jurisdiction to entertain appellant's purported appeal, we
overrule his motion to compel for want of jurisdiction. 

	Accordingly, appellant's motion to compel delivery of documents and petitions and
his purported appeal from his conviction for aggravated sexual assault are dismissed for
want of jurisdiction.

						Don H. Reavis

						    Justice


Do not publish.

1. The 30th day fell on Saturday, November 14, 1998, extending the deadline to
Monday, November 16th.  Tex. R. App. P. 4.1(a).

